O AO 247 (N C/W 11/11) O rder Regarding M otion for Sentence R eduction



                                       U NITED STATES D ISTRICT C OURT
                                                                          for the
                                                        Western District of North Carolina

                     United States of America                               )
                                v.                                          )
                                                                              Case No:     3:04CR39-6
                      Matthew Barrette Rozzelle                             )
                                                                              USM No:      19512-058
                                                                            )
Date of Original Judgment:     August 15, 2005
                                                                            )
Date of Last Amended Judgment: April 23, 2009                                 Chiege O. Kalu Okwara
                                                                            )
                                                                                Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 137 months        is reduced to 123 months

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
                                                                                                           34 (career
Original Offense Level:                37                                       Amended Offense Level:     offender)
Criminal History Category:             VI                                       Criminal History Category: VI
Original Guideline Range:              360 months to life                       Amended Guideline Range: 262 to 327 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing and the reduced sentence is comparably less than the amended guideline range.
 The reduced sentence is above the amended guideline range.
 Other (explain):  Due to the defendant's classification as a Career Offender, the adjusted offense level is 37, rather
                    than 36, with the total offense level being 34.




III. ADDITIONAL COMMENTS
Upon release from imprisonment, and absent a residential plan accepted by the U.S. Probation Officer prior to
release from incarceration, it is ordered that as a condition of supervised release the defendant shall submit to
the local Residential Reentry Center for a period not to exceed 90 days, with work release, at the direction of
the U.S. Probation Officer.
Except as provided above, all provisions of the judgment dated                      August 15, 2005,      shall remain in effect.
IT IS SO ORDERED .

Order Date:          February 14, 2012


Effective Date:
                       (if different from order date)

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